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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   No. CV-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER TO UPDATE PROPOSED
                                                                         10   This Order Relates To:                  )   ORDERS FOR FINAL APPROVAL
                               For the Northern District of California
United States District Court




                                                                                                                      )   OF CLASS ACTION SETTLEMENTS
                                                                         11                                           )
                                                                              ALL DIRECT PURCHASER ACTIONS            )
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                                                                         16        The Court has reviewed the proposed order approving claim form
                                                                         17   and directing notice to the class regarding distribution of the
                                                                         18   settlement fund.    ECF No. 2728-7.     The proposed order appears
                                                                         19   appropriate except that the various dates need to be revised.
                                                                         20   Counsel for the Direct Purchaser Class are DIRECTED to submit a
                                                                         21   revised proposed order with revised dates.        For purposes of
                                                                         22   determining those dates, the Court will enter this order (and
                                                                         23   related orders) within two (2) business days of its submission to
                                                                         24   the Court.
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                                                                         26   Dated: July 9, 2015               _______________________________
                                                                                                                     Honorable Samuel Conti
                                                                         27
                                                                                                                      United States District Judge
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